Case 2:13-cr-14047-JEM Document 172 Entered on FLSD Docket 12/19/2013 Page 1 of 4




                            UNITED STATES DISTRICT CO URT
                            SOUTHERN DISTRICT O F FLO RIDA

                      CASE NO.13-14047-CR-MARTINE& LYNCH(s)(s)(s)
  UNITED STATES O F AM ERICA,

         Plaintiff,                                     FILED sy               D.2.

                                                           DEC 1S 2213
  JO E DESILIEN,JR.,                                       STEVEN M LAR4MORC
                                                            cl-cRxuà.Dlsmc'c
                                                          S.o.oFFL#.-FT.plEncE
         Defendant.
                                   I

            REPORT AND RECOM M ENDATIO N ON DEFENDANT DESILIEN'S
   MOTION TO DISMISS (D.E.#143)AND AMENDED MOTION TO DISMIS: rD.E.#1641
         THIS CAUSE having com e on to be heard upon the aforem entioned m otions and
  this Coud having reviewed the motions as wellas the governm ent's response and this

   Coud otherwise being advised in the prem ises,m akes the following recom m endations to

  the DistrictCoud:
                The Defendantischarged ina Third Superseding Indictm entw ith conspiracy

   to interfere withcom merce bythreatsorviolence (robbery),inviolation ofTitle 18,United
   States Code,Section 1951(a)(Count One);interfering with commerce by threats or
   violence (robbery),in violation ofTitle 18,United States Code,Section 1951(a)and 2
   (Counts Fourand Six),
                       'and using,carrying and possessing a firearm in fudherance ofa
   crim e of violence-brandished, in violation of Title 18, United States Code, Section

   924(c)(1)(A)(ii)and 2 (CountsFive and Seven).
         2.     The Defendant's motion and am ended m otion seek to have Counts One,

   Fourand Six dism issed forfailing to sufficiently allege thata person was robbed,thatthe

   person was em ployed atPNC Bank,and thatthe bank operated in interstate orforeign
Case 2:13-cr-14047-JEM Document 172 Entered on FLSD Docket 12/19/2013 Page 2 of 4




  com m erce. Further,the m otion and am ended m otion argue thatCounts O ne,Fourand

  Six do notallege thatthe person was working forthe bank atthe tim e ofthe robbery.The

  motion seeks dism issalofCounts Five and Seven as being derivative counts ofCounts

  One,Fourand Six.In otherwords,ifCounts O ne,Fourand Six are insufficientand are

  dism issed,then Counts Five and Seven being the firearm counts would necessarily have

  to be dism issed as wellas being derivative ofthe underlying crim inalconductalleged in

  Counts O ne,Fourand Six.

         3.    The governm ent's response asseds thatthe Ianguage setfodh in the Third

  Superseding Indictm enttracks the statutes cited and sufficiently puts the Defendanton

  notice as to w hatcrim es w ith which he is being charged and m ustdefend against. This

  Courthasreviewed the specific allegationssetfodhin eachofthe counts being challenged

  by the DefendantDesilien in his motion and am ended m otion. This Courtfinds thatthe

  allegationssetforth in the Third Superseding Indictm entasto this Defendantare sufficient

  to puthim on notice as to whatcrim es he is being charged with and m ustdefend against.

   Fudher,the language does sufficiently track the statutes cited and the elem ents ofthe

  offenses charged in each count.

         4.     An indictmentis sufficientifit(1)presents the essentialelements ofthe
  charged offense;(2)notifiesthe accused ofthe chargesto be defended against;and (3)
  enablestheaccused to relyuponajudgmentundertheindictmentasa baragainstdouble
  jeopardyforanysubsequentprosecutionforthesameoffense.United Statesv.W oodruft
  296F.3d 1041(11thCir.2002).ThisCourtfindsthatasinW oodruff,the allegationsofthe
  Third Superseding Indictm entdo sufficiently putthe DefendantDesilien on notice asto the



                                             2
Case 2:13-cr-14047-JEM Document 172 Entered on FLSD Docket 12/19/2013 Page 3 of 4




  chargesagainsthim ,trackthe Ianguage ofthe statute,and sufficientlyallege crim es under

  the Hobbs Actas was done in W oodruff.

         5.    This Coud also notes the governm ent's assedion that in respect to a

  challenge to the sufficiency ofan indictment,the reviewing courtgi
                                                                   ves the indictm enta

  com m on sense construction and determ ines its validity based on practical and not

  technicalconsiderations. This Courtagrees with thatargum ent. Ithas been cited m any

  tim es by the Eleventh CircuitCoud ofAppeals in respectto challenges to the sufficiency

  ofindictments. United Statesv.McGarity,669 F.3d 1218 (11thcir.2012).ThisCourtin
  giving a com m on sense analysis to the Ianguage setforth in the challenged counts ofthe

  Third Superseding lndictm entas to the DefendantDesilien,finds thatthe allegations are

  sufficientand adequately putthe Defendanton notice asto the charges againstwhich he

   m ust defend. Therefore, the Defendant's challenge to the sufficiency of the Third

   Superseding Indictm entshould be denied.

         ACCO RDING LY,this Coud recom m ends to the DistrictCoud thatthe Defendant's

   MotionTo Dismiss ID.E.#143)andAmended MotionTo Dismiss ID.E.#164)beDENIED.
         The parties shallhave fourteen (14) days from the date of this Report and
   Recommendation within which to file objections,if any,with the Honorable Jose E.
   Martinez,the United States DistrictJudge assigned to this case. Pursuantto Federal

   RulesofCriminalProcedure,Rule59(b)(2),failuretofileobjectionstimelywaivesaparty's
   rightto review and bars the parties from attacking on appealany legalrulings and factual

   findings contained herein.
Case 2:13-cr-14047-JEM Document 172 Entered on FLSD Docket 12/19/2013 Page 4 of 4




        no sE Aso susu lyzEo this .    /ézr> ofnecember,zola,atFortpi
                                                                    erce,
  Northern Division ofthe Southern DistrictofFlorida.




                                            ANK . YNCH,JR.
                                              D STATE    G ISTRATE JUDG E


  Copies furnished:
  Hon.Jose E.Madinez
  A USA Carmen M .Lineberger
  Randee J.G older,Esq.
  Allen S.Kaufm an,Esq.




                                            4
